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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Oliver W. Wanger
Senior United States District Judge
Fresno, California

                                         RE:    Jorge Narez AGUILAR
                                                Docket Number: 1:04CR05185-018
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


The releasee is requesting permission to travel to Mexico as his elderly grandfather is
gravely ill. He is current with all supervision obligations, and the probation officer
recommends approval be granted.


Conviction and Sentencing Date: On January 19, 2006, the releasee was sentenced for
the offense of 21 USC 841(a)(1), Distribution of Methamphetamine, Class C Felony.


Sentence imposed: 24 months custody of the Bureau of Prisons; 36 months supervised
release; $100 special assessment.           Special conditions include:          Search;
Counseling/testing; Aftercare co-payment; Register as a narcotic offender; DNA collection.


Dates and Mode of Travel: The offender and his family would like to leave on
December 13, 2007, and travel by automobile to Tijuana, Mexico. They will then fly on a
commercial airline to Michoacan, Mexico, returning by the same route on December 17,
2007.




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RE:   Jorge Narez AGUILAR
      Docket Number: 1:04CR05185-018
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


Purpose: The supervised releasee is requesting the Court expedite permission to travel
to Mexico with his parents and siblings for a period of four days to visit his elderly
grandfather who is very ill. If allowed to travel out of the country, the releasee will be
instructed to report to the United States Customs Officials upon his entry and exit from
Mexico.

                                Respectfully Submitted,

                                   /s/ Sandra K. Dash

                                  SANDRA K. DASH
                            United States Probation Officer

DATED:       December 11, 2007
             Modesto, California
             SKD:lr


REVIEWED BY:         /s/ Deborah A. Spencer
                     DEBORAH A. SPENCER
                     Supervising United States Probation Officer



ORDER OF THE COURT:

Approved         X                              Disapproved


IT IS SO ORDERED.

Dated: December 11, 2007                     /s/ Oliver W. Wanger
emm0d6                                  UNITED STATES DISTRICT JUDGE




                                                                                                         R ev. 05/2006
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